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                                 Victoria Symptom Validity Test
                                  by Daniel Slick, PhD, Grace Hopp, MA
                                   & Esther Strauss, PhD, and PAR Staff
                                     Score Report/Interpretive Guide
                                         —Client Information—

Client Name: Robert Brockman                      Complaints of Memory Dysfunction:
ID Number: 05182021                               Possible Litigation:
Date of Testing: 05/19/2021                       Date of Injury: / /
Date of Birth:                                    Loss of Consciousness(LOC):
Age: 79                                           Duration of LOC:
Gender: Male                                      Length of Post Traumatic Amnesia:
Education: 17                                     Results of Neuroimaging:
Reported Ethnicity:                               Setting:
Marital Status: m                                 Previous head Injury:
                                                  Previous Testing:
                                                  Sensory/Motor Impaiiuients:
                                                  Other Neurological/Medical Disorders:




This report is designed to assist in the interpretation of performance on the Victoria Symptom Validity Test
(VSVT). The VSVT provides one measure of the level of effort expended on test-taking by clients referred
for psychological or neuropsychological evaluations.


The VSVT and other forced-choice tests are often referred to as "symptom validity tests," rather than
"malingering tests," because unusually poor performance may reflect poor effort, deliberate feigning,
exaggeration of real cognitive deficits, factors independent of conscious dissimulation and external rewards,
or any combination of the above. Therefore, it is of the utmost importance to recognize that VSVT scores
are, at best, capable of indicating that factors other than cognitive impairment may be influencing a client's
performance. Even in cases where financial or other incentives exist and where performance on the VSVT is
in the questionable range, the client may be legitimately impaired, acting without conscious intent, or a
combination of both.


The clinician using the VSVT should be knowledgeable about the research and ethical issues related to
assessing symptom validity. Considerable caution and good judgment should be exercised when interpreting
the results of symptom validity tests such as VSVT due to the potentially serious implications of results
suggesting less than optimal effort. The clinician is strongly encouraged to employ additional measures to
assess effort and motivation whenever the client's VSVT performance raises concerns about the level of
effort expended during an evaluation. More reliable and accurate conclusions about a client's motivation
and effort can best be made through the use of multiple assessment instruments and additional sources of
information.




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                                             VSVT Summary Scores


                                                         Binomial                 Suggested
Items Correct score             Raw score                 p value               interpretation


Easy Items Correct                   15/24                  0.9242              Questionable

Difficult Items Correct              8/24                   0.0758              Questionable

Total Items Correct                  23/48                  0.4427              Questionable


Note. Raw scores indicate the number of items correct/maximum number of items in the category.




                            Between-Group Comparisons: Items Correct Scores


                                                                       Comparison Groups

                              Client               Control           Feigning           Comp      Non-comp
Items Correct score          (n = 1)              (n = 95)           (n = 43)         (n = 205)   (n = 32)


Easy Items Correct              15           Al     23.97              20.30             23.33      23.53
                                             SD      0.18               4.35              1.97       1.19

Difficult Items Correct         8            Al     23.44              10.95             20.17      22.63
                                             SD      0.92               6.06              4.80       1.79

Total Items Correct             23           Al     47.41              31.26             43.50      46.16
                                             SD      0.92               9.05              6.08       2.59


Note. Comp = Compensation-seeking; Non-comp = Non-compensation seeking.




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                             Descriptive Statistics for Response Latency Variables


                                                                       Classification

                                                Valid                   Questionable                 Invalid
Response Latency scores (seconds)           (above chance)               (at chance)             (below chance)


Easy Items
       Al                                         1.67                      2.84                       3.40
       SD                                         0.73                      1.45                       1.02
       95% Confidence Interval                 1.58 - 1.77               2.26 -3.42                 2.81 - 3.99


Difficult Items
        Al                                        2.68                      5.50                       4.70
        SD                                        1.28                      3.44                       1.67
        95% Confidence Interval                2.52 -2.85                4.11 -6.89                 3.73 - 5.67


Note. Number of respondents within the three classification groups are as follows: Valid (n = 135); Questionable
(n = 20); and Invalid (n = 15).




                               Between-Group Comparisons: Response Latency


                                                                      Comparison Groups

Response Latency               Client                Control        Feigning         Comp          Non-comp
scores (seconds)              (n = 1)               (n = 95)        (n = 43)       (n = 205)       (n = 32)


Easy Items
                  Al              6.50                  1.29            2.48            2.06           1.61
                  SD              3.85                  0.37            1.05            1.04           0.53

Difficult Items
                                 8.91                   1.93            4.08            3.45           2.61
                  SD            11.74                   0.51            2.12            2.02           1.11

 Total Items
                                  7.71                  1.61            3.28            2.76           2.11
                  SD              8.73                  0.41            1.43            1.45           0.80


Note. Comp = Compensation-seeking; Non-comp = Non-compensation seeking.




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                                              Item Scores for Block 1


                    Response accuracy
                 Correct          Incorrect              Item type           Response Latency (seconds)


Item 1              X                                 Easy                           10.16
Item 2              X                                 Easy                           10.12
Item 3                               X                       Difficult                7.09
Item 4              X                                 Easy                            4.01
Item 5              X                                 Easy                            0.94
Item 6                               X                       Difficult               16.58
Item 7                               X                       Difficult                2.88
Item 8              X                                 Easy                           12.13
Item 9              X                                        Difficult                7.11
Item 10                              X                Easy                           11.33
Item 11                              X                       Difficult               59.72
Item 12                              X                       Difficult                8.29
Item 13                              X                Easy                            7.37
Item 14                              X                Easy                           12.62
Item 15                              X                       Difficult                7.99
Item 16                              X                       Difficult                6.08




                                      Score Totals for Block 1 (16 items)


Easy Items Correct = 5                                       Easy Items Response Latency = 8.59
Difficult Items Correct = 1                                  Difficult Items Response Latency = 14.47
Total Items Correct = 6                                      Total Items Response Latency = 11.53


Note. Retention interval for Block 1 was 5 seconds.




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                                              Item Scores for Block 2


                    Response accuracy
                 Correct          Incorrect             Item type            Response Latency (seconds)


Item 1                               X              Easy                             12.10
Item 2                               X                       Difficult                5.55
Item 3              X                               Easy                              9.58
Item 4              X                                        Difficult                8.98
Item 5              X                               Easy                              3.56
Item 6              X                                        Difficult                6.43
Item 7                               X              Easy                              9.13
Item 8                               X                       Difficult                6.56
Item 9              X                               Easy                              8.91
Item 10             X                               Easy                              9.00
Item 11                              X                       Difficult                2.68
Item 12             X                                        Difficult                3.99
Item 13             X                               Easy                              2.99
Item 14             X                               Easy                              4.51
Item 15             X                                        Difficult               19.45
Item 16                              X                       Difficult                3.21




                                      Score Totals for Block 2(16 items)


Easy Items Correct = 6                                       Easy Items Response Latency = 7.47
Difficult Items Correct = 4                                  Difficult Items Response Latency = 7.11
Total Items Correct = 10                                     Total Items Response Latency = 7.29


Note. Retention interval for Block 2 was 10 seconds.




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                                               Item Scores for Block 3


                     Response accuracy
                  Correct          Incorrect             Item type              Response Latency (seconds)


Item 1               X                                         Difficult                  4.73
Item 2                                 X                       Difficult                  7.43
Item 3               X                                Easy                                3.33
Item 4                                 X              Easy                                1.74
Item 5               X                                         Difficult                  1.45
Item 6                                 X                       Difficult                  1.96
Item 7                                 X              Easy                                3.12
Item 8                                 X                       Difficult                  3.25
Item 9                                 X                       Difficult                  4.87
Item 10              X                                Easy                                3.19
Item 11              X                                Easy                                3.33
Item 12                                X                       Difficult                 14.90
Item 13                                X              Easy                                0.84
Item 14              X                                         Difficult                  2.76
Item 15              X                                Easy                                6.75
Item 16                                X              Easy                                5.20




                                        Score Totals for Block 3(16 items)


Easy Items Correct = 4                                         Easy Items Response Latency = 3.44
Difficult Items Correct = 3                                    Difficult Items Response Latency = 5.17
Total Items Correct = 7                                        Total Items Response Latency = 4.30


Note. Retention interval for Block 3 was 15 seconds.


                                      Score Totals for Blocks 1-3(48 items)


Easy Items Correct = 15                                        Easy Items Response Latency = 6.50
Difficult Items Correct = 8                                    Difficult Items Response Latency = 8.91
Total Items Correct = 23                                       Total Items Response Latency = 7.71



Right-Left Preference score: 0.29
(Scores < -0.6 indicate an extreme left-side preference; scores > 0.6 indicate an extreme right-side preference)




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